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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

In Re: PARAQUAT PRODUCTS                            )
LIABILITY LITIGATION                                )
                                                    )
                                                    )       Case No.: 3:21-md-3004-NJR
                                                    )
                                                    )       MDL No. 3004
                                                    )
This Document Relates to All Cases                  )

                      CASE MANAGEMENT ORDER NO. 2
                    APPOINTING PLAINTIFFS’ LEADERSHIP

ROSENSTENGEL, Chief Judge:

        In Case Management Order No. 1, the Court invited attorneys who had filed a civil

 action in this litigation to submit applications for Plaintiffs’ Lead Counsel and/or Plaintiffs’

 Steering Committee, as well as Plaintiffs’ Liaison Counsel, on or before June 28, 2021.

 (Doc. 16.) Eighty applications from an impressive array of applicants were submitted for

 an in-camera review, and the Court conducted Zoom interviews with forty-one of those

 applicants. All applicants were highly qualified and committed candidates, thereby

 making the selection process difficult. The Court encourages counsel who were not

 appointed to formal roles at this time to meaningfully engage with Plaintiffs’ Leadership.

 The Court equally encourages Plaintiffs’ Leadership to utilize, as needed, the skills and the

 experience of all applicants for the common benefit of all Plaintiffs in this action.

        The Court carefully considered the applicants’ written submissions and oral

 statements in light of the criteria set forth in Case Management Order No. 1, the Manual

 for Complex Litigation, and Federal Rule of Civil Procedure 23(g). In addition, given the

 prior efforts of counsel in the Illinois and California state court Paraquat litigation, the


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    Court was particularly interested in appointing a small, diverse, inclusive, and experienced

    leadership group that is fully committed to coordinating efforts and sharing information

    and research to advance these claims in an efficient and cost-effective manner. While the

    Court is fully aware of the time and resources that Plaintiffs’ leadership will be required to

    expend in this MDL, the Court has no intention of requiring the parties to needlessly

    duplicate efforts and thus will be appointing Lead Counsel, Liaison Counsel,1 and a

    Plaintiffs’ Executive Committee (PEC).

            Based upon the foregoing, the Court appoints the following:

I.         CO-LEAD COUNSEL:

            Khaldoun A. Baghdadi
            Walkup, Melodia, Kelly & Schoenberger
            650 California Street, 26th Floor
            San Francisco, CA 94108

            Sarah Shoemake Doles (Co-Lead and MDL Plaintiffs’ Liaison)
            Carey Danis & Lowe
            8235 Forsyth Blvd., Suite 1100
            St. Louis, MO 63105

            Peter Flowers
            Meyers & Flowers, LLC
            225 West Wacker Drive, Suite 1515
            Chicago, IL 60606

           Co-Lead Counsel are responsible for coordinating the activities of Plaintiffs during

    pretrial proceedings. They will have the following responsibilities, including, without

    limitation:

                         a. Determine and present to the Court and opposing parties the position
                            of all matters arising during pretrial proceedings;

                         b. Coordinate the initiation and conduct of discovery consistent with
                            the requirements of the Federal Rules of Civil Procedure relating to

1   For the MDL proceeding, as well as the state courts in California and Illinois

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                  discovery or any other subsequent order of this Court;

               c. Coordinate with members of the PSC in management of the litigation
                  and fund the necessary and appropriate costs of discovery and other
                  common benefit efforts, including the maintenance of a Plaintiffs’
                  document depository;

               d. Coordinate settlement discussions or other dispute resolution
                  efforts on behalf of Plaintiffs, under the Court’s supervision;

               e. Delegate specific tasks to other counsel in the matter to ensure that
                  pretrial preparation is conducted effectively, efficiently, and
                  economically; schedules are met; and unnecessary expenditures of
                  time and expense are avoided;

               f. Consider the qualifications of non-leadership counsel who
                  submitted applications for specific tasks and take into account
                  diversity and inclusivity among the factors considered when
                  assigning duties;

               g. Consult with and employ consultants or experts, as necessary;

               h. Enter into stipulations with opposing counsel necessary for the
                  conduct of the litigation;

               i. Encourage full cooperation and efficiency among all Plaintiffs’ counsel;

               j. Prepare and distribute periodic status reports to the parties and the
                  Court;

               k. Maintain adequate time and disbursement records covering service
                  of designated counsel and establishing guidelines for approval by
                  the Court as to the keeping of time records and expenses;

               l. Determine reasonable compensation for non-leadership counsel
                  commensurate with their contributions from a settlement fund, if
                  any, or a verdict;

               m. Monitor the activities of co-counsel to ensure that schedules are met
                  and unnecessary expenditures of time and funds are avoided;

               n. Present all matters of common concern to Plaintiffs;

               o. Perform such other duties as may be incidental to proper coordination
                  with the PEC’s pretrial activities or as authorized by further order

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                   of the Court; and

                p. Submit, if appropriate, additional committees and counsel for
                   designation by the court.

II.   PLAINTIFFS’ EXECUTIVE COMMITTEE (PEC):

      The Court appoints the following attorneys as members of the PEC:

      David Cates PEC and State Court Liaison for Illinois
      Cates Mahoney, LLC
      216 W Pointe Drive, Suite A
      Swansea, IL 62226

      Amy Eskin PEC and State Court Liaison for California
      Schneider Wallace Cottrell Konecky LLP
      2000 Powell Street, Suite 1400
      Emeryville, CA 94608

      Chad Finley
      TorHoerman Law
      210 Main Street
      Edwardsville, IL 62025

      Marlene J. Goldenberg
      GoldenbergLaw, PLLC
      800 LaSalle Avenue, Suite 2150
      Minneapolis, MN 55402

      R. Eric Kennedy
      Weisman, Kennedy & Berris Co., L.P.A.
      101 W Prospect Avenue
      Cleveland, OH 44115

      Leslie LaMacchia
      Pulaski Kherkher PLLC
      2925 Richmond Avenue, Suite 1725
      Houston, TX 77098

      Roopal P. Luhana
      Chaffin Luhana LLP
      600 Third Avenue, 12 Floor
      New York, NY 10016




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       LaRuby May
       Levin, Papantonio, Rafferty, Proctor, Buchanan, O’Brien, Barr & Mougey, P.A.
       316 Baylen Street, Suite 600
       Pensacola, FL 32502

       Julia A. Merritt
       Beasley Allen
       2839 Paces Ferry Road SE, Suite 400
       Atlanta, GA 30339

       Alicia O’Neill
       Watts Guerra LLP
       5726 W. Hausman Road, Suite 119
       San Antonio, TX 78249

       Aimee H. Wagstaff
       Wagstaff Law Firm
       940 North Lincoln Street
       Denver, CO 80220

       Amanda Williamson
       Heninger Garrison Davis, LLC
       2224 1st Avenue North
       Birmingham, AL 35203

       Diandra “Fu” Debrosse Zimmermann
       Dicello Levitt Gutzler
       420 20th Street North, Suite 2525
       Birmingham, AL 35203

       The PEC will conduct and coordinate the discovery stage of this litigation with

defense representatives. It will be chaired by Co-Lead Counsel. The PEC is given the

responsibility to create such committees and subcommittees as are necessary to efficiently

carry out its responsibilities, designate members thereof, and to delegate common benefit

work responsibilities to selected counsel (including non-members of the PEC), as may be

required for the common benefit of Plaintiffs. The PEC will have the following

responsibilities:



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                 a. Discovery
                     1) Initiate, coordinate, and conduct all pretrial discovery on
                        behalf of Plaintiffs in all actions which are consolidated
                        with the instant MDL;

                     2) Develop and propose to the Court schedules for the
                        commencement, execution, and completion of all discovery on
                        behalf of all Plaintiffs;

                     3) Cause to be issued in the name of all Plaintiffs the necessary
                        discovery requests, motions, and subpoenas pertaining to any
                        witnesses and documents needed to properly prepare for the
                        pretrial discovery of relevant issues found in the pleadings of
                        this litigation. Similar requests, notices, and subpoenas may
                        be caused to be issued by the PSC upon written request by an
                        individual attorney in order to assist him/her in the
                        preparation of the pretrial stages of his/her client’s particular
                        claims;

                     4) Conduct all discovery in a coordinated, efficient, and
                        consolidated manner on behalf and for the benefit of all
                        Plaintiffs. No attorney for a Plaintiff may be excluded from
                        attending the examination of witnesses and other
                        proceedings. Such attorney may suggest questions to be
                        posed to deponents through the designated PEC members
                        provided that such questions are not repetitious.

                 b. Hearings and Meetings

                     1) Call meetings of counsel for Plaintiffs for any appropriate
                        purpose, including coordinating responses to questions of
                        other parties or the court. Initiate proposals, suggestions,
                        schedules, or joint briefs, and any other appropriate matter(s)
                        pertaining to pretrial proceedings;

                     2) Examine witnesses and introduce evidence at hearings on
                        behalf of all Plaintiffs;

                     3) Act as spokesperson for all Plaintiffs at pretrial proceedings
                        and in response to any inquiries by the Court, subject to the
                        right of any Plaintiffs’ counsel to present non-repetitive,
                        individual, or different positions;




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                     c. Miscellaneous

                          1) Submit and argue any verbal or written motions presented
                             to the Court on behalf of the PEC as well as oppose, when
                             necessary, any motions submitted by Defendant(s) or other
                             parties which involve matters within the sphere of the
                             responsibilities of the PEC;

                          2) Explore, develop, and pursue all settlement options pertaining
                             to any claim or portion thereof of any case filed in this
                             litigation;

                          3) Maintain adequate files of all pretrial matters and have them
                             available, under reasonable terms and conditions, for
                             examination by Plaintiffs or their attorneys;

                          4) Prepare periodic status reports summarizing the PEC’s work
                             and progress. These reports shall be submitted to the
                             Plaintiffs’ Liaison Counsel who will promptly distribute
                             copies to the other Plaintiffs’ attorneys;

                          5) Perform any task necessary and proper for the PEC to
                             accomplish its responsibilities as defined by the Court’s
                             orders; and

                          6) Perform such other functions as may be expressly
                             authorized by further orders of this Court.

III.   PLAINTIFFS’ LIAISON COUNSEL

        The court appoints Co-Lead Sarah Shoemake Doles of Carey, Danis & Lowe as

 Plaintiffs’ Liaison Counsel. In addition to serving as a Co-Lead, Plaintiffs’ Liaison Counsel

 will be charged with administrative matters. Notwithstanding the appointment of Liaison

 Counsel, counsel shall have the right to participate in all proceedings before the court as

 fully as such counsel deems necessary. Liaison Counsel shall not have the right to bind any

 party as to any matter without the consent of counsel for that party, except Liaison

 Counsel’s own clients. Further, Liaison Counsel shall remain free to represent the interests

 and positions of her clients free of any claim (including without limitation any claim of

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conflict) arising from service as Liaison Counsel. She will have the following

responsibilities, including without limitation:

                   a. Act as the primary contact between the Court and Plaintiffs’ counsel;

                   b. Coordinate with California and Illinois state court liaisons to organize
                      matters pending in the appropriate jurisdictions;

                   c. Maintain an up-to-date, comprehensive Service List of Plaintiffs and
                      promptly advise the court and defense counsel of changes to
                      Plaintiffs’ Service List;

                   d. Receive and distribute to Plaintiffs’ counsel, as appropriate, orders,
                       notices, and correspondence from the court to the extent such
                       documents are not electronically filed;

                   e. Receive and distribute to Plaintiffs’ counsel, as appropriate,
                       discovery, pleadings, correspondence, and other documents from
                       defense counsel that are not electronically filed;

                   f. Establish and maintain a document depository;

                   g. Maintain and make available to co-counsel at reasonable hours a
                      complete file of all documents served by or upon each party;

                   h. Assist the PEC in resolving scheduling conflicts among the parties
                      and coordinating activities, discovery, meetings, and hearings;

                   i. Maintain a file-endorsed copy of this Order, and serve the same
                      on the parties and/or their attorneys in any actions later instituted
                      in, removed to, or transferred to, these proceedings;

                   j. Maintain records of receipts and disbursements advanced by
                      members of the PEC and received by the PEC, and report in writing
                      to the PEC concerning disbursements, and

                   k. Perform such other functions necessary to effectuate these
                       responsibilities or as may be expressly authorized by further orders
                       from the court.

IV.   PLAINTIFFS’ STATE COURT LIAISONS

       In addition to serving as PEC members, David Cates (for Illinois) and Amy Eskin


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(for California) will charged with administrative matters pertaining to their respective

jurisdiction. Notwithstanding the appointment of State Court Liaison Counsel, each

counsel shall have the right to participate in all proceedings before the court as fully as

such counsel deems necessary. State Court Liaison Counsel shall not have the right to bind

any party as to any matter without the consent of counsel for that party, except State Court

Liaison Counsel’s own clients. Further, State Court Liaison Counsel shall remain free to

represent the interests and positions of their clients free of any claim (including without

limitation any claim of conflict) arising from service as State Court Liaison Counsel. They

will have the following responsibilities, including without limitation:

              a. Act as the primary contact between the respective state court and the MDL
                 court;

              b. Maintain and up-to-date, comprehensive Service List of Plaintiffs in their
                 respective state courts;

              c. Assist Lead Counsel in resolving scheduling conflicts among the parties
                 and coordinating activities, discovery, meetings, and hearings concerning
                 their respective state courts, if necessary; and

              d. Perform such other functions necessary to effectuate these responsibilities
                 or as may be expressly authorized by further orders from the court.

V.    PLAINTIFFS’ LEADERSHIP CONFERENCE

      Those appointed to Plaintiffs’ leadership positions are expected to confer within

fourteen days of the filing of this Order to establish the leadership structure, allocate

responsibilities, and institute a billing protocol.

VI.   PERSONAL NATURE OF APPOINTMENTS

       The appointments of Co-Lead Counsel, Plaintiffs’ Executive Committee, and

Plaintiffs’ MDL and State Court Liaison Counsel are personal appointments. The appointees


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 cannot be substituted by other attorneys, including members of the appointees’ law firm,

 except with the Court’s prior approval. The Court may add or replace appointees on their

 request, on request of Plaintiffs’ leadership team, or on its own motion, if and as

 circumstances warrant.

VII.      TERM OF APPOINTMENT

          The appointments of Plaintiffs’ Co-Lead Counsel, Plaintiffs’ Executive Committee,

 and Plaintiffs’ Liaison Counsel are for one year from the date of this Order. Appointees

 may only be reappointed when their term expires by resubmitting an application for

 continued service prior to July 7, 2022, detailing the nature and scope of their work on this

 litigation, including the time and resources that he or she expended during the previous

 term. The appointments may be revoked or amended at any time by order of this Court.

VIII. COMMUNICATIONS WITH THE COURT

          All communications from Plaintiffs with the Court must be through Co-Lead

 Counsel or Liaison Counsel. If circumstances require direct correspondence with the Court

 by individual counsel, copies of any such communications must simultaneously be served

 on Co-Lead Counsel and Liaison Counsel.

IX.       COMPENSATION AND REIMBURSEMENT OF PLAINTIFFS’ COUNSEL

          The Court will make the final determination as to the compensation and

 reimbursement of Plaintiffs’ counsel. All timekeepers carrying out work for Plaintiffs’

 common benefit, including       PEC members who may look to any common fund or

 agreement      for   reimbursement   or     compensation, shall maintain detailed and

 contemporaneous time records. The Court will provide further details in a subsequent

 order.

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X.     ADDITIONAL LEADERSHIP

       Finally, should circumstances change and the need for new or additional leadership

 position arise, the Court may invite additional applications for leadership from those who

 initially applied or others.

       IT IS SO ORDERED.

       DATED: July 6, 2021



                                                 _____________________________
                                                 NANCY J. ROSENSTENGEL
                                                 Chief U.S. District Judge




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